                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                              3:16-CR-00279-RJC-DCK
 USA                                           )
                                               )
       v.                                      )              ORDER
                                               )
 HASSAN JAMIL FISHER                           )
                                               )

            THIS MATTER is before the Court upon motion of the defendant pro se for

early release to home confinement. (Doc. No. 50).

            Title 18, United States Code, Section 3624(c) allows the Bureau of Prisons

(BOP) to place a prisoner in pre-release custody under conditions, including home

confinement, for the last portion of a sentence in preparation for re-entry into the

community. The Second Chance Act of 2007, among other things, expanded the

allowable time period for pre-release custody from six to twelve months, but limits

the time in home confinement to six months. Pub. L. No. 110 199, § 251, 122 Stat.

657, 692-93 (2008). The Act clearly states that it does not alter the BOP’s authority

to designate the place of the prisoner’s imprisonment under 18 U.S.C. § 3621, and

prohibits a court from ordering that a sentence be served in a community

confinement facility. Id. The First Step Act of 2018, among other things, amended §

3624(c) by adding a sentence directing the BOP to place qualifying prisoners in

home confinement for the maximum amount of time permitted. Pub. L. 115-135, §

602.




            Case 3:16-cr-00279-RJC-DCK Document 51 Filed 09/25/20 Page 1 of 2
                       In response to the COVID-19 pandemic, the Coronavirus Aid, Relief, and

              Economic Security (CARES) Act became law on March 27, 2020. Pub. L. 116-136,

              134 Stat 281. Section 12003(b)(2) of the Act gives the Director of the BOP authority

              to lengthen the maximum amount of time a prisoner may be placed in home

              confinement under § 3624(c)(2) during the covered emergency period, if the

              Attorney General finds that emergency conditions will materially affect the

              functioning of the BOP. On April 3, 2020, the Attorney General issued a

              memorandum to the Director of the BOP making that finding and directing the

              immediate processing of suitable candidates for home confinement. However,

              nothing in the CARES Act gives the Court a role in determining those candidates.

                       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

                       The Clerk is directed to certify copies of this order to the defendant, counsel

              for the defendant, to the United States Attorney, the United States Marshals

              Service, and the United States Probation Office.


Signed: September 25, 2020




                                                           2

                      Case 3:16-cr-00279-RJC-DCK Document 51 Filed 09/25/20 Page 2 of 2
